






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-07-070 CR


____________________



JAMES DONALD CAMPBELL, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause No. 98958






MEMORANDUM OPINION


	James Donald Campbell was convicted and sentenced on an indictment for
unauthorized use of a vehicle.  Campbell filed a notice of appeal on January 26, 2007.  The
trial court entered a certification of the defendant's right to appeal in which the court certified
that this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On February 1, 2007, we notified the parties that the appeal would be dismissed unless
an amended certification was filed within thirty days of the date of the notice and made a part
of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been supplemented
with an amended certification.

	Because a certification that shows the defendant has the right of appeal has not been
made part of the record, the appeal must be dismissed.  See Tex. R. App. P. 25.2(d). 
Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.	


                                                                            __________________________________

                                                                                              CHARLES KREGER

                                                                                                         Justice


Opinion Delivered March 21, 2007

Do not publish


Before McKeithen, C.J., Gaultney and Kreger, JJ.


